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                          THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

        UNITED STATES OF
        AMERICA,
                  Plaintiff,
                                                     Case No. 3:07-cr-81 ( 1)
               V.

        DANIEL GARCIA-GUIA,                          Judge Walter H. Rice

                     Defendant.



       ORDER OVERRULING MOTION (DOC. #1075) AND SUPPLEMENTAL
       MOTION (DOC. #1077) TO MODIFY SENTENCE PURSUANT TO 18
       U.S.C. § 3582(c)(1 )(A) OF DEFENDANT DANIEL GARCIA-GUIA
       WITHOUT PREJUDICE TO FIILING RENEWED MOTION SEEKING
       COMPASSIONATE RELEASE PURSUANT TO AMENDMENT 814 TO
       THE UNITED STATES SENTENCING GUIDELINES WITHIN (30) DAYS
       OF THIS ENTRY; PLAINTIFF UNITED STATES OF AMERICA MAY FILE
       A MEMORANDUM CONTRA SUCH MOTION WITHIN TWENTY-ONE
       (21) DAYS OF FILING; DEFENDANT MAY FILE A REPLY WITHIN
       FOURTEEN (14) DAYS THEREAFTER



      Before the Court is the Motion {Doc. #1075) and Supplemental Motion {Doc.

#1077) to Modify Sentence Pursuant to 18 U.S.C. § 3582(c)( 1)(A) of Defendant

Daniel Garcia-Guia. On September 30, 2009, Defendant was sentenced to life

imprisonment after being convicted of conspiracy to distribute and possess with

intent to distribute in excess of five kilograms of cocaine {Count One), attempt to

possess with intent to distribute cocaine {Count Three), and participation in a

continuing criminal enterprise {Count Twenty-Two). (Judgment, Doc. #785,

PAGEID 3565-67, citing 21 U.S.C. § § 841 {a)( 1), (b)( 1)(A), 848{a), {b)(2)(A);
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Fourth Superseding Indictment, Doc. #508). Defendant is forty-two years old with

no present release date. 1

        Defendant's last filing in support of the Motions was docketed on April 10,

2023. (Doc. #1079). The United States Sentencing Commission ("Commission")

issued Amendment 814, effective November 1, 2023, which amended United

States Sentencing Guideline ("Guideline") § 181 .13(b} to include as an

"extraordinary and compelling reason" for relief "[i]f a defendant received an

unusually long sentence and has served at least 10 years of the term of

imprisonment[.]" U.S. SENT'G GUIDELINES MANUAL § 181 .13(b)(6). Amendment

814 resolved a split among district and appellate courts by expressly allowing
            ~



district courts to consider non-retroactive changes in the law to determine what

constitutes an "unusually long sentence," and thus, eligibility for compassionate

release, "where such change would produce a gross disparity between the

sentence being served and the sentence likely to be imposed at the time the

motion is filed, and after full consideration of the defendant's individualized

circumstances." Id.

       Defendant has served more than ten years of his sentence, and a life

sentence, is undoubtedly "lengthy." "Of note," however, "the Guidelines do not

expressly define an 'unusually long sentence' or 'gross disparity' in the context of

determining a defendant's entitlement to a sentence reduction[.]" United States v.




1 https://www.bop.gov/inmateloc/ (last accessed   Sept. 3, 2024).


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    Luke, No. 14cr-6089-FPG, 2024 WL 1693275, *5 (W.D.N.Y. Apr. 19, 2024).

    Indeed, Guideline § 1 B1 .13(b)(6) stresses the individualized nature of the Court's

    analysis, and the Court needs particularized evidence, caselaw, and argument with

    respect to Defendant's individual circumstances before it can determine whether

the sentence is "unusually long."

          Moreover, the Motion and Supplemental Motion properly read as seeking

compassionate release pursuant to the gravamen of Amendment 814. As the

motions were filed prior to the Amendment, Defendant deserves the opportunity to

present his argument in light of the Commission expressly permitting courts to

consider non-retroactive changes to the law and Guidelines. 2

          Accordingly, the Motion (Doc. #1075) and Supplemental Motion (Doc.

#1077) are OVERRULED WITHOUT PREJUDICE to Defendant filing a renewed

motion seeking compassionate release in light of Amendment 814 within thirty

(30) days of this Order. Plaintiff United States of America may file a memorandum

contra within twenty-one (21) days after the supplemental motion is filed, and

Defendant may file a reply within fourteen ( 14) days thereafter .


          IT IS SO ORDERED.


                                                    WALTER H. RICE, JUDGE
          September 3, 2024                         UNITED STATES DISTRICT COURT




2
  While Defendant filed a pro se Motion for Sentence Reduction (Doc. #1080) on May 24, 2024,
which this Court overruled (Order, Doc. #1081 ), he did not argue specifically for compassionate
release. Nor did he extensively discuss any non-retroactive changes to the law.

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